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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No.    22-CR-0361-CNS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.    JALIN BISHOP,

      Defendant.


                                      INDICTMENT


The Grand Jury charges:

                                        COUNT 1

      On or about May 13, 2022, in the State and District of Colorado, the defendant,

JALIN BISHOP, did knowingly and intentionally possess with intent to distribute

marijuana, a Schedule I controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

                                        COUNT 2

      On or about May 13, 2022, in the State and District of Colorado, the defendant,

JALIN BISHOP, did knowingly use and carry a firearm during and in relation to a drug

trafficking crime for which he may be prosecuted in a court of the United States, namely

possession with intent to distribute a controlled substance, as alleged in Count 1 herein.

      All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).
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                                          COUNT 3

         On or about May 13, 2022, in the State and District of Colorado, the defendant,

JALIN BISHOP, did knowingly transfer a firearm, to wit: a Tennessee Arms, model AR9,

9mm semi-automatic pistol, bearing serial number G000007120, knowing and having

reasonable cause to believe that the firearm would be used to commit a drug trafficking

crime.

         All in violation of Title 18, United States Code, Section 924(h).

                                    Forfeiture Allegation

         1.     The allegations contained in Counts 1 through 3 of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to the provisions of Title 18, United States Code, Section 924(d), Title 21, United

States Code, Section 853, and Title 28, United States Code, Section 2461(c).

         2.     Upon conviction of the violation(s) described in Counts 2 and 3 above, the

defendant, JALIN BISHOP, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any

firearm and ammunition involved in the commission of the offense, including, but not

limited to: (1) a Tennessee Arms, model AR9, 9mm semi-automatic pistol, bearing serial

number G000007120.

         3.     Upon conviction of the violation(s) described in Count 1 above, alleging

violations of Title 21, United States Code, Sections 841(a)(1), (b)(1)(C), the defendant,

JALIN BISHOP, shall forfeit to the United States, pursuant to Title 21, United States Code,

Section 853, any and all of the defendant’s right, title and interest in all property
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constituting and derived from any proceeds obtained directly and indirectly as a result of

such offense, and in all property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of such offense, including, but not limited to: a

money judgment in the amount of proceeds obtained by the defendant.

      4.      If any of the property described in paragraphs 2 and 3 above, as a result

of any act or omission of the defendant:

             a)     cannot be located upon the exercise of due diligence;

             b)     has been transferred or sold to, or deposited with, a third
                    party;

             c)     has been placed beyond the jurisdiction of the Court;

             d)     has been substantially diminished in value; or

             e)     has been commingled with other property which
                    cannot be subdivided without difficulty;




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it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of said defendant up to the value of the forfeitable property.

                                           A TRUE BILL:


                                           Ink signature on file in Clerk’s Office
                                           FOREPERSON


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